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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO: 9:19-cv-81160-RS

      APPLE INC.,

             Plaintiff,
      v.

      CORELLIUM, LLC,
          Defendant.

      __________________________________/

           DEFENDANT CORELLIUM, LLC’S AMENDED1 STATEMENT OF MATERIAL
            FACTS IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT AND
                        INCORPORATED MEMORANDUM OF LAW




  1
      Pursuant to the Court’s Sealed Order [D.E. 793].
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          Defendant Corellium, LLC (“Defendant” or “Corellium”), pursuant to Federal Rule of

  Civil Procedure 56(c) and S.D. Fla. L.R. 56.1, hereby submits its Amended Statement of Material

  Facts in Support of Its Motion for Summary Judgment and Incorporated Memorandum of Law:

  1. iOS is an operating system developed by Plaintiff Apple, Inc. (“Apple”) for use on iPhones

       and, until recently, iPads. Ex. 1 (Ex. 1 (Krstic Dep.)) at 47:12-48:10.

  2. iOS includes “everything from low level firmware required to initialize the hardware to the

       low level system software required to boot the operating system to the high level pieces of

       the operating systems that users interface with and perceive to be the operating system,”

       applications,             . Ex. 1 (Krstic Dep.) at 47:23-48:23; Ex. 2 (Apple Inc’s Resps and

       Objs. to Corellium, LLC’s Fourth Set of Requests for Admission (“Ex. 2 (Fourth RFAs)”))

       No. 252.

  3.

                                                          Ex. 2 (Fourth RFAs) Nos. 263-265.

  4.

                                        Ex. 1 (Krstic Dep.) at 52:15-53:5; Ex. 3 (Andrews Dep.) at

       83:7-15; Ex. 4 (Marineau-Mes Dep.) at 36:6-7; Ex. 5 (Apple Inc.’s Resps. and Objs. To

       Corellium, LLC’s Third Set of Interrogs. No. 4).

  5.

                                                                                          Ex. 1 (Krstic

       Dep.) at 126:15-17. See also id. at 125:25-126:1; Ex. 6 (Wang Dep.) at 60:9-16.

  6.

                                            Ex. 7 (Apple Inc.’s Second Am. Resps. and Objs. to

       Corellium, LLC’s First Set of Requests for Admissions (“First RFAs”) Nos. 14-17, 189; Ex.

       3 (Andrews Dep.) at 95:1-24; Ex. 1 (Krstic Dep.) at 59:7-17; Ex. 8 (Peterson Dep.) at 40:6-7.

  7.                                                              Ex. 8 (Peterson Dep.) at 74:6-16.

  8.

                                                                                 Ex. 1 (Krstic Dep.) at


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        18:20-19:6; Ex. 1 (Krstic Dep.) at 30:4-19; Ex. 2 (Fourth RFAs) Nos. 251, 254; Ex. 4

        (Marineau-Mes Dep.) at 55:9-23.

  9.                                                                        Ex. 6 (Wang Dep.) at

        65:9-12, 259:19-24; Ex. 25 (Gorton Dep.) at 96:9-12.

  10.

                              Ex. 3 (Andrews Dep.) at 91:92:15. See also Ex. 1 (Krstic Dep.) at 52:1-

        14; Ex. 4 (Marineau-Mes Dep.) at 37:18-22.

  11.

                             Ex. 4 (Marineau-Mes Dep.) at 38:7-39:9; Ex. 1 (Krstic Dep.) at 58:2-15.

  12.

                                                                                          Ex. 3

        (Andrews Dep.) at 95:1-24, 98:18-20, 99:3-7; Ex. 4 (Marineau-Mes Dep.) at 49:25-50:6.

  13.



                                       Ex. 3 (Andrews Dep.) at 86:21-87:9; Ex. 4 (Marineau-Mes

        Dep.) at 47:11-17.

  14. Apple did not bring a cause of action for violation of the EULA. See ECF No. 56.

  15.                                                                                Ex. 3 (Andrews

        Dep.) at 106:12-24.

  16.



                                                                                     Ex. 9 (Apple

        Inc.’s Verified Second Am. Resp. & Objs. to Corellium’s Second Set of Interrogs.) No. 16.

  17.



                                                 ” Id.

  18.


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                            Ex. 1 (Krstic Dep.) at 128:14-23; Ex. 3 (Andrews Dep.) at 84:15-85:14.




                  Ex. 1 (Krstic Dep.) at 131:7-13. See also id. at 66:19-67:9.

  19.

                                           Ex. 1 (Krstic Dep.) at 129:10–133:17; Ex. 3 (Andrews Dep.)

        at 102:23–103:4; Ex. 10 (Federighi Dep.) at 28:4–5; Ex. 4 (Marineau-Mes Dep.) at 54:12–19;

        Ex. 11 (Stamos Dep.) at 211:3–6.

  20. The Apple copyrights asserted in the First Amended Complaint (“FAC”) do not protect iOS as

        a whole but instead protect constituent parts or portions of apps. ECF No. 56, Ex. A; Ex. 12

        (Apl-Corellium_00004850) at 50 (iOS 9.0); Ex. 13 (Apl-Corellium_00004852) at 52 (iOS 9.1);

        Ex. 14 (Apl-Corellium_00004844) at 44 (iOS 10.0); Ex. 15 (Apl-Corellium_00004846) at 46

        (iOS 11.0); Ex. 16 (Apl-Corellium_00004827) at 27 (iOS 11.0.1); Ex. 17 (Apl-

        Corellium_00005020) at 20 (iOS 11.2); Ex. 18 (Apl-Corellium_00005024) at 24 (iOS 11.2.5);

        Ex. 19 (Apl-Corellium_00004848) at 48 (iOS 11.3); Ex. 20 (Apl-Corellium_00004960) at 60

        (iOS 11.4); Ex. 21 (Apl-Corellium_00005022) at 22 (iOS 12.0); Ex. 22 (Apl-

        Corellium_00005079) at 79 (iOS 12.1.1); Ex. 23 (Apl-Corellium_00005149) at 49 (iOS 12.2);

        Ex. 8 (Peterson Dep.) at 64:8-18, 114:13-115:5.

  21. Each of Apple’s copyright registrations asserted in the FAC (ECF No. 56, Ex. A) “[e]xclude .

        . . [p]reviously published Apple material,” including prior versions of iOS. Id.

  22. The source code deposits for Apple’s copyrights asserted in the FAC pertain to the Calculator

        app and Swift (iOS 9.0), the Notes app (iOS 9.1), Apple Music (iOS 10.0), Files (iOS 11.0),

        Animojis (iOS 11.0.1), Passbook (iOS 11.2), HomePod (iOS 11.2.5 & 11.4), ARKit (iOS

        11.3), the Measure app (iOS 12.0), HealthKit (iOS 12.1.1), and Apple TV (iOS 12.2). Ex. 8

        (Peterson Dep.) at 52:14-16, 68:23-69:6, 77:16-18, 82:12-83:7, 84:25-85:4, 88:23-89:1,


                                                     3
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        91:15-23, 95:22-23, 99:8; 104:14, 107:9-11, 110:22-25.

  23.

                                          Ex. 8 (Peterson Dep.) at 32:4-25.

  24. iTunes versions 12.3, 12.4, 12.5.1, and 12.6 are not incorporated into iOS. Ex. 8 (Peterson

        Dep.) at 112:18-23.

  25.

                                                    Ex. 1 (Krstic Dep.) at 23:5-1; Ex. 3 (Andrews

        Dep.) at 38:17-39:1; Ex. 7 (First RFAs) No. 7.

  26.

                                                                                  Ex. 24 (Wade

        Dep.) at 39:21-40:15, 101:15-21; Ex. 7 (First RFAs) No. 4.

  27.

                                   Ex. 7 (First RFAs) Nos. 72-77.

  28. Citrix Systems, Inc. purchased Virtual in September 2014. Ex. 24 (Wade Dep.) at 102:20-

        103:3.

  29.

                          Ex. 25 (Gorton Dep.) at 18:8-1, 20:7-8.

  30.



                      Ex. 25 (Gorton Dep.) at 50:20-51:12; Ex. 24 (Wade Dep.) at 226:21-227:1.

  31.

                                                   Ex. 3 (Andrews Dep.) at 48:9-15; Ex. 1 (Krstic

        Dep.) at 135:15-136:21; Ex. 26 (Apl-Corellium_00018161) at 61; Ex. 47 (Correllium-

        001436) at 36-37; Ex. 7 (First RFAs) Nos. 1, 2, 78-84; Ex. 7 (First RFAs) No. 4.

  32. Apple was aware in 2017 that Corellium intended that its customers “will pay a subscription

        model to have access to ios running on a hypervisor and SEP running on qemu” in September

        2017. Ex. 46 (Apl-Corellium_00003979) at 80.


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  33.

                                        Ex. 7 (First RFAs) No. 85; Ex. 27 (Apl-Corellium_

        00000850) at 50; Ex. 7 (First RFAs) Nos. 109-110.

  34.

                                                                            E.g., Ex. 28 (Correllium-

        001144) at 44; Ex. 29 (Apl-Corellium_ 00000027) at 27; Ex. 30 (Apl-Corellium_00017960)

        at 60; Ex. 7 (First RFAs) Nos. 117-18; Ex. 31 (Apl-Corellium_00040652) at 52-56; Ex. 25

        (Gorton Tr.) at 177:22-178:8.

  35.

        Ex. 3 (Andrews Dep.) at 192:20-193:15. See also Ex. 7 (First RFAs) No. 3-4.

  36.                                                    Ex. 7 (First RFAs) No. 2; Ex. 25 (Gorton Dep.)

        at 179:16-180:12; Ex. 32 (Skowronek Dep.) at 292:10-293:15; Ex. 6 (Wang Dep.) at 15:16-

        16:3; Ex. 28 (Correllium-001144) at 44.

  37.



                                                                     Ex. 33 (Apl-Corellium_00000

        519) at 519; Ex. 34 (Apl- Corellium_00044386) at 86-87; Ex. 35 (Apl-Corellium_00008529)

        at 29-31; Ex. 36 (Apl-Corellium_00000536) at 56-58; Ex. 37 (Apl-Corellium_00000604) at

        04-05; Ex. 38 (Apl-Corellium_00000744) at 45-46; Ex. 39 (Apl-Corellium_00006405) at 05-

        15; Ex. 2 (Fourth RFAs) Nos. 259-262; Ex. 40 (Corellium-001478) at 78.

  38.                                                                              Ex. 3 (Andrews

        Dep.) at 62:23-24; Ex. 41 (Smith Dep.) at 70:15-22; Ex. 7 (First RFAs) Nos. 41, 95.

  39.                                                                                 Ex. 10 (Federighi

        Dep.) at 53:19-54:4, 113:12-15, 121:17-19.

  40.

                                                                   Ex. 41 (Smith Dep.) at 71:2-13.




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  41.                                                                                   .2 Ex. 3

        (Andrews Dep.) at 88:17-22; Ex. 4 (Marineau-Mes Dep.) at 191:7-11; Ex. 6 (Wang Dep.) at

        92:15-20; Ex. 25 (Gorton Dep.) at 66:7-23; Ex. 32 (Skowronek Dep.) at 319:11-18;

        Defendant’s Fourth Am. Answers to Plaintiff’s First Set of Interrogs. (“Fourth Interrog.

        Resp.”) No. 4.

  42.                                                       Ex. 25 (Gorton Dep.) at 66:7-23; Ex. 6

        (Wang Dep.) at 92:15-20; Ex. 32 (Skowronek Dep.) at 236:15-25.

  43.                                                    Ex. 3 (Andrews Dep.) at 103:14-16.

  44. Corellium offers an on-site version and a cloud-based version of its product. Ex. 6 (Wang

        Dep.) at 98:20-99:11; Ex. 32 (Skowronek Dep.) at 61:10-15.

  45.                                                                           Ex. 6 (Wang Dep.) at

        142:16-144:11, 159:1-16, 161:17-21, 172:24-173:3, 186:2-5, 203:21-204:24; Ex. 32

        (Skowronek Dep.) at 249:17-250:20; Ex. 42 (Fourth Interrog. Resp.) No. 2.

  46.




                                                                   Ex. 3 (Andrews Dep.) at 51:16-

        54:9; Ex. 32 (Skowronek Dep.) at 77:8-9, 128:24-129:25, 133:16-134:4; Ex. 24 (Wade Dep.)

        at 255: 11-21; Ex. 6 (Wang Dep.) at 218:13-14.

  47. The CP provides its users with a version of iOS in an environment suitable for security

        research. Ex. 24 (Wade Dep.) at 242:6-243:23; Ex. 6 (Wang Dep.) at 184:21-23, 211:2-25;

        Ex. 32 (Skowronek Dep.) at 52:1-9, 64:13-21, 71:18-23, 133:4-15. See also Ex. 1 (Krstic

        Dep.) at 100:11-21; Ex. 43 (Betz Dep.) at 23:18-24:3.

  48.


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                                      Ex. 6 (Wang Dep.) at 190:3-11, 219:9-220:6; Ex. 25 (Gorton

        Dep.) at 67:21-70:9, 82:20-83:6. See also Ex. 42 (Fourth Interrog. Resp.) No. 5.

  49.

                                                 Ex. 44 (Shirk Dep.) at 93:11-94:7.

  50.

                                         Ex. 6 (Wang Dep.) at 220:17-221:15.

  51. The CP contains virtual features relevant to security research with as much fidelity as

        possible, including the “processor architecture,” “the ability to execute with certain hardware

        drivers,” and “security mitigations.” Ex. 32 (Skowronek Dep.) at 72:4-19, 74:11-15, 75:12-

        76:12.

  52. Kernel patches involve improvements to research and “the security researchers’ work flow,”

        “fixing bugs that Apple has left behind,” and “interoperability patches.” Ex. 32 (Skowronek

        Dep.) at 249:17-250:20.

  53.

                                                                Ex. 32 (Skowronek Dep.) at 116:20-

        117:1, 120:23-121:1, 210:15-211:5; Ex. 6 (Wang Dep.) at 122:17-19, 152:18-153:1, 173:8-

        17; 260:13-261:11.

  54.                                                                                  Ex. 32

        (Skowronek Dep.) at 218:17-25; Ex. 6 (Wang Dep.) at 176:22-1; Ex. 42 (Fourth Interrog.

        Resp.) No. 2(b)-(d).

  55.



                               Ex. 32 (Skowronek Dep.) at 217:11-218:4; Ex. 6 (Wang Dep.) at

        112:11-20, 155:3-9.

  56. The CP does not support iOS versions earlier than 10.3 for two reasons: 1) iOS 10.3 was “the


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        first version that had no 32-bit code in the operating system, as we do not support that,” (Ex.

        32 (Skowronek Dep.) at 220:24-221:11; Ex. 24 (Wade Dep.) at 189:11-19); and 2) “[p]rior to

        iOS 10, all versions of the IPSW, the Apple firmware file, were encrypted.” Ex. 24 (Wade

        Dep.) at 190:11-191:5.

  57. Apple’s asserted copyrights over the various “wallpaper” works and certain icons are

        implicated only in versions of iOS (7.X and 8.X for wallpapers, 9.X for icons) that are

        unsupported by the CP. ([registrations for Apple’s iOS 9 icon compilation (VA 2-061-057)

        and the four registrations for wallpapers in iOS versions 7 and 8 (VA 1-922-660; VA 1-967-

        209; VA1-967-206; VA 1-967, 208]).

  58.

                                                                                                  Ex. 1

        (Krstic Dep.) at 111:13-15, 112:12-24, 113:4-12; Ex. 3 (Andrews Dep.) at 122:2-21; Ex. 43

        (Betz Dep.) at 99:13-1, 100:25-101:4; Ex. 10 (Federighi Dep.) at 82:19-83:1; Ex. 4

        (Marineau-Mes Dep.) at 90:14-91:6.

  59.                                                      Ex. 3 (Andrews Dep.) at 55:10-18; Ex. 4

        (Marineau-Mes Dep.) at 93:7-19; Ex. 6 (Wang Dep.) at 117:18-119:3; Ex. 32 (Skowronek

        Dep.) at 323:25-13.

  60.                                                              Ex. 4 (Marineau-Mes Dep.) at

        76:10-22.

  61. Security research is not an inherently bad act, it depends on the way such research is

        ultimately used. Ex. 1 (Krstic Dep.) at 83:23-84:1; Ex. 4 (Marineau-Mes Dep.) at 96:15-19;

        Ex. 44 (Shirk Dep.) at 118:14-24

  62.




                                         Ex. 45 (Dyer Dep.) at 47:2-48:22; Ex. 25 (Gorton Dep.) at

        116:11-117:10, 122:12-123:21, 124:3-25.


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   63.



                                                                         Ex. 25 (Gorton Dep.) at

         117:23-118:24.

   64.

                                     Ex. 3 (Andrews Dep.) at 90:14-91:1, 274:7-11; Ex. 6 (Wang Dep.)

         at 64:25-65:10, 213:18-214:2; Ex. 32 (Skowronek Dep.) at 274:7-11.

   65. Corellium prevents its users from tricking or confusing Apple’s servers with a false ECID by

         hard-coding unique ECIDs that the user cannot override and that begin with the word

         “Corellium.” Ex. 32 (Skowronek Dep.) at 242:16-243:16; 244:11-14.

   66.

                                                                                               Ex. 32

         (Skowronek Dep.) at 251:19-253:13, 256:6-21, 258:14-259:1, 282:21-284:10; Ex. 6 (Wang

         Dep.) at 186:6-22, 196:3-197:22.

   67.

                         Ex. 7 (First RFAs) Nos. 10, 11.

   68.

                                                     Ex. 7 (First RFAs) Nos. 77, 120-23, 169-70, 182,

         125-49 (2017); id. Nos. 99-100, 106-07, 151-53 (2018); id. Nos. 157-68 (2019); Ex. 24

         (Wade Dep.) at 278:17-279:6; Ex. 25 (Gorton Dep.) at 143:3:9; Ex. 42 (Fourth Interrog.

         Resp.) No. 7.

   69. Corellium’s customers have submitted iOS bugs to Apple. Ex. 24 (Wade Dep.) at 206:3-20.

   70. Corellium never believed that it was “doing something unlawful.” Ex. 1 (Krstic Dep.) at

         225:4-10; Ex. 24 (Wade Dep.) at 277:13-278:8; Ex. 35 (Apl-Corellium_00008529) at 29.

   71. Based on the course of conduct between the parties, Corellium believed that it had an implied

         license from Apple. Ex. 25 (Gorton Dep. at 177:9-178:8).

   72. No one at Apple informed anyone at Corellium that Corellium’s products infringed on any of


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         Apple’s copyrights or violated the Digital Millennium Copyright Act. Ex. 1 (Krstic Dep.) at

         67:22-68:1; Ex. 3 (Andrews Dep.) at 39:6-40:7, 104:25-106:10, Andrews Dep. at 207:13-

         208:2; Ex. 43 (Betz Dep.) at 44:16-20; Ex. 41 (Smith Dep.) at 52:22-25, 137:20-138:7; Ex.

         10 (Federighi Dep.) at 114:19-115:14; Ex. 25 (Gorton Dep.) at 41:1-42:6, 42:24-43:4, 44:5-

         11, 44:20-45:3; Ex. 24 (Wade Dep.) at 276:4-15; Ex. 7 (First RFAs) No. 10-11.

   73.                                                                             Ex. 3 (Andrews

         Dep.) at 81:4-6; Ex. 7 (First RFAs) Nos. 10, 11.

   74. Apple has announced, but not released, a security research device program consisting of

         modified iPhones that allow some research functions. Ex. 1 (Krstic Dep.) at 93:14-94:5,

         96:9-22; Ex. 4 (Marineau-Mes Dep.) at 175:7-10.

   75.



                    Ex. 4 (Marineau-Mes Dep.) at 90:14-91:6. See also Ex. 43 (Betz Dep.) at 99:13-

         18.




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                                         CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on March 8, 2021, a true and correct copy of the

   foregoing has been transmitted by electronic filing with the Clerk of the court via CM/ECF, which

   will send notice of electronic filing to all counsel of record.




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